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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                          No. 15 CR 739-2

       v.
                                                  Judge Manish S. Shah
RONALD CRUMP

               GOVERNMENT’S SENTENCING MEMORANDUM

       The UNITED STATES OF AMERICA, by its attorney, ZACHARY T.

FARDON, United States Attorney for the Northern District of Illinois, submits the

following sentencing memorandum. For the reasons set forth below, the government

respectfully requests that this Court sentence defendant, Ronald Crump, to a

sentence within the Guidelines range.

I.     OFFENSE CONDUCT

       As set forth in the plea agreement, the Presentence Investigation Report

(PSR), and the Government’s Version of the Offense attached thereto, the defendant

pled guilty to passing counterfeit currency on or about January 1, 9, and March 19,

2015. In total, on those three dates, Crump passed $5,500 of counterfeit currency.

       However, defendant’s actions were not isolated incidents. They were a part of

a larger scheme by defendant, his co-defendants, and several uncharged co-

conspirators to pass counterfeit currency at retail stores throughout the Chicago

area. In summary, during the period from in or around January 2015 to in or

around April 2015, the defendant along with co-defendants Earl Simms and Charles

Russell, and Individuals A and B, obtained counterfeited obligations of the United

States, including a Federal Reserve Note in the denomination of one hundred
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dollars bearing Serial Number LG64647291B (“the counterfeit bills”). Defendant

and his co-conspirators agreed to work together to pass these counterfeit bills at

various retail stores in the Chicago area. Defendant and his co-conspirators

primarily passed these counterfeit bills at various locations of Retail Store A.

During the conspiracy, defendant and his co-conspirators traveled together to

various locations of Retail Store A, each in possession of the counterfeit bills, in

order to make purchases with the counterfeit bills. After defendant and his co-

conspirators passed the counterfeit bills to purchase merchandise at Retail Store A,

defendants and their co-conspirators returned the items to Retail Store A for a

refund in order to obtain genuine United States currency. In order to avoid

detection, defendant and his co-conspirators frequently did not return merchandise

to the same store at which they had purchased it. Defendants often traveled

together when returning merchandise that they bought with counterfeit bills. In

total, defendant and his co-conspirators passed at least $20,600 in counterfeit bills,

thus causing a loss of at least $20,600 to Retail Stores A and B.

      Contrary to defendant’s assertion, defendant and his co-conspirators were

observed working together on numerous occasions. For example, on January 9,

2015, Crump and co-defendant Simms both passed $600 of counterfeit at Retail

Store A located in Calumet City, Illinois in back-to-back transactions. At

approximately 8:40 p.m., Simms and Crump approached the register together.

Simms completed a purchase for $600. Immediately after Simms made his




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purchase, Crump approached the same register and made a $600 purchase. All

$1,200 of counterfeit had had the same serial number.

      On or about March 19, 2015, Crump was again seen passing counterfeit at

the same location of Retail Store A as his co-defendants. On that day, Macy’s

security personnel observed co-defendant Simms and Russell and Individual B

make purchases using counterfeit currency at Retail Store A located on Michigan

Avenue in Chicago. Approximately an hour after Simms, Russell, and Individual B

passed counterfeit, law enforcement observed Crump pass $2,200 in counterfeit

currency bearing the same serial number at the same location of Retail Store A.

      Moreover, defendant was arrested for passing counterfeit currency on

January 1, 2016, while he was with other individuals who were also passing

counterfeit currency with the same serial number as the counterfeit that Crump

and his co-defendants were using. On January 2, 2016, the day after Crump passed

counterfeit at Retail Store B, Crump was stopped by the Chicago Police Department

with three unindicted individuals at another retail store in downtown Chicago. Two

of those unindicted individuals each passed $1,000 in counterfeit $100s bearing the

same serial number as the counterfeit passed by the defendant and his co-

defendants. The third individual who was present that day who did not pass

counterfeit, also drove co-defendant Simms, Russell, and Individual B to pass

counterfeit at Retail Store A on March 19, 2016.




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II.     THE GUIDELINES CALCULATIONS

        The government agrees with the Guidelines calculations as set forth in the

PSR.

        As an initial matter, the government agrees with probation that defendant

should be held accountable for all counterfeit that was passed during the course of

the conspiracy. See PSR ¶ 18. Pursuant to Guidelines § 1B1.3(a)(1)(B), defendant

should “in the case of a jointly undertaken criminal activity (a criminal plan,

scheme, endeavor, or enterprise undertaken by the defendant in concert with

others, whether or not charged as a conspiracy)” be held accountable for all acts that

were “(i) within the scope of the jointly undertaken criminal activity, (ii) in

furtherance of that criminal activity, and (iii) reasonably foreseeable in connection

with that criminal activity . . .” Moreover, Guidelines § 1B1.3(a)(2) states that with

respect to offenses of conviction that are grouped together for purposes of

calculating the offense level, the defendant should be held accountable for all acts

“that were part of the same course of conduct or common scheme or plan as the

offense of conviction . . .”

        While the government recognizes that the scope of relevant conduct is not

always the same as the scope of the entire conspiracy (Application Note 3(B) to

Guideline § 1B1.3), in this case the two are coextensive. The evidence shows that

Crump had an agreement with others involved in this conspiracy to repeatedly

purchase merchandise with counterfeit currency at various locations of Retail Store

A and to return that merchandise in exchange for genuine currency. This is shown
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by the fact that Crump was at the same location, passing the same counterfeit bills

as other co-conspirators on at least January 2, January 9, and March 19, 2015. The

fact that defendant was passing counterfeit on those dates with his co-defendants is

more than a coincidence; it is evidence that the activities were planned and

coordinated. In addition, the merchandise that Crump purchased on both January 9

and March 19 was returned. The returns show that Crump was engaging in the

same criminal pattern as his co-conspirators. He was not purchasing merchandise

and keeping it or re-selling it elsewhere. He was returning it at Retail Store A

almost immediately after purchasing it, which is in line with the general plot of the

conspiracy. Therefore, the government believes that Crump should be held

accountable for the entire $20,600 that was passed during the course of the

conspiracy.

      Pursuant to Guidelines § 3D1.2(d), Counts 2, 3, and 9 are grouped together

for purposes of calculating the Guidelines range. PSR ¶ 16. The base offense level is

9, pursuant to Guideline § 2B5.1(a). Id. ¶ 9. The offense level should be increased by

4 pursuant to Guideline §§ 2B5.1(b)(1)(B) and 2B1.1(b)(1)(C) because as discussed

above, the face value of the counterfeit items, including relevant conduct, was

approximately $20,600. Id. ¶ 18.

      Given the fact that defendant is contesting his involvement in the larger

conspiracy, the government reserves the right to take whatever position it deems

appropriate at the time of sentencing with respect to whether defendant has

accepted responsibility within the meaning of Guidelines § 3E1.1(a).



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         As detailed in the PSR, defendant receives ten criminal history points as a

result of his six prior convictions. Id. ¶¶ 32-38. In addition, defendant receives two

additional criminal history points pursuant to Guidelines § 4A1.1(d) because he

committed the instant offense while on probation. Therefore, defendant receives a

total of twelve criminal history points and is in criminal history category V. Id. ¶ 40.

         An offense level of 13, when combined with a criminal history category of V,

results in an anticipated advisory Sentencing Guidelines range of 30 to 37 months

of imprisonment. Id. ¶ 74.1

III.     THE SECTION 3553(A) FACTORS SUPPORT A SENTENCE AT WITHIN THE
         GUIDELINES RANGE

         The Court must consider the factors set forth in Title 18, United States Code,

Section 3553(a) in determining an appropriate sentence. The framework for

determining an appropriate sentence is set forth in 18 U.S.C. § 3553(a), which

requires that the Court ensure the sentence imposed properly considers, among

other factors: (1) the nature and circumstances of the offense; (2) the history and

characteristics of the defendant; (3) the need to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the

offense; (4) the need to afford adequate deterrence; and (5) the need to protect the

public from further crimes of the defendant. Considering these factors, a sentence

within the Guidelines range is sufficient, but not greater than necessary, to reflect

the seriousness of Crump’s offenses, provide just punishment for Crump’s crimes,



1If the Court determines that defendant has accepted responsibility, the offense level would
be 11. Thus, the Guidelines range would be 24-30 months’ imprisonment.

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and provide adequate deterrence, while taking into consideration Crump’s history

and characteristics.

      A.     Nature and Circumstances of the Offense

      The passing of counterfeit currency is a serious offense that has real world

costs to the retailers at which the counterfeit currency is passed as genuine as well

as to the United States government. In this case, in total defendant and his co-

conspirators passed over $20,600 of counterfeit currency at Retail Stores A and B.

Defendant and his co-conspirators used the counterfeit to purchase merchandise

and then returned that merchandise in exchange for genuine currency. In addition

to the loss of money, the retail stores incurred additional costs related to re-stocking

of merchandise and additional security.

      In addition, the criminal actions of the defendant were planned and

coordinated. The defendant used the same counterfeit bills as his co-conspirators,

often traveled to stores on the same days as his co-conspirators to make purchases

using the counterfeit bills, and even purchased merchandise from the same

registers. Defendant also took steps to hide his crimes, such as traveling to multiple

stores and returning merchandise at a different store than he purchased the

merchandise from. These coordinated efforts by the defendant and his co-

conspirators were designed to help them evade detection by law enforcement.

      Moreover, the indictment likely underestimates the scope of the defendant’s

crimes. As noted in the PSR in paragraph 53, there is evidence that defendant was

passing counterfeit currency as early as November 1, 2104. In addition, Retail Store

A has records from numerous other occasions during which the same counterfeit bill
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used by defendant was passed. However, due to lack of video or poor video quality,

law enforcement was unable to identify the individuals who passed the counterfeit

on those additional occasions.

      A sentence within the Guidelines range is appropriate given the coordinated

actions of and the scope of defendant and his co-defendant’s conduct.

      B.     History and Characteristics of the Defendant

      Defendant has a history of committing violent offenses. He has previously

been convicted for battery, vehicular hijacking, attempted unlawful use of a weapon

by a felon, and domestic abuse, amongst other crimes. PSR ¶¶ 32-37. Defendant has

also been arrested an additional thirteen times for similarly violent offenses (PSR

¶¶ 43-55). In addition, defendant has a pending case in which he is charged with

being an armed habitual criminal, being a felon in possession of a firearm, and

aggravated unlawful use of a weapon. While defendant’s conduct in this case did not

involve violence, defendant’s violent past cannot be ignored.

      In addition, there is little evidence that defendant has attempted to earn a

living for himself in a legitimate, law-abiding fashion. Defendant last held a full

time job in 2013. Id. ¶ 93. Of particular concern is the fact that defendant quit the

last two jobs that he had because work was “slow.” Id. ¶¶ 93, 94. Since those last

two jobs, defendant has only worked sporadically. Id. ¶ 94. Instead, defendant has

opted to earn a living through other means, like passing counterfeit currency.

      C.     Need for Deterrence

      Defendant’s sentence should also be severe enough to adequately deter him

from engaging in the passing of counterfeit currency again and to sufficiently deter

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others from engaging in this illegal conduct. A sentence of incarceration is

necessary to show the defendant and his co-defendants that financial crimes are not

an appropriate way to make a living. A sentence within the Guidelines range is also

necessary to show defendant that the courts will also take non-violent offenses

seriously. In addition, defendant’s repeated criminal conduct and failure to follow

conditions of probation show that defendant lacks respect for the law. A Guidelines

sentence in this case will show defendant that he cannot continue to violate the law

with impunity.

IV.     RESTITUTION

        Restitution is mandatory in this case. See 18 U.S.C. § 3663A. The

government believes that defendant along with his co-defendants liable for the full

$20,600 that was lost as part of the criminal scheme in this case. PSR ¶ 117. As

explained above, defendant was a full participant in the scheme to pass counterfeit

bills at retail stores in the Chicago area.

V.      SUPERVISED RELEASE CONDITIONS

        Consistent with the goals of sections 3583(c) and 3553(a), given defendant’s

lack of employment and his violent criminal history, the government recommends a

term of Supervised Release of three years. The conditions of supervised release

proposed in the PSR are consistent with the statutory goal of protection of the

public and affording adequate deterrence to additional criminal conduct.

Discretionary conditions 1, 2, 4, 6-8, 17, 18, and special condition 3, 5, 6, 8, and 11,

will help the defendant to find and maintain lawful employment and to lead a law

abiding life. Discretionary condition 9 will ensure that defendant stops using illegal

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narcotics. Finally, discretionary conditions 14-16, and special conditions 7, 10, and

13 will facilitate the probation officer’s ability to keep informed of defendant’s

conduct and condition, and will also allow the probation officer to ensure that

defendant is meeting his restitution obligations.

VI.   CONCLUSION

      For all of the foregoing reasons, the government respectfully requests this

Court sentence defendant to a term of imprisonment within the Guidelines range.

Such a sentence would reflect the seriousness of the offense, promote respect for the

law, and provide a just punishment for the offense as set forth in Title 18, United

States Code, Section 3553.


Dated: September 29, 2016                     Respectfully submitted,
                                              ZACHARY T. FARDON
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